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·1· ·question.

·2· · · · · ·THE WITNESS:· I had no context, other than

·3· ·who is the plaintiff, was the question.

·4· · · · · ·MR. BRIODY:· Q.· What was the last part?

·5· ·Other than what?

·6· · · ·A· ·Who is the plaintiff.· That was the...

·7· · · ·Q· ·So, could you tell me what your understanding

·8· ·is for the reason for the investigation of the

·9· ·plaintiff?

10· · · ·A· ·I had no --

11· · · · · ·MR. HANNA:· Objection to the form of the

12· ·question.

13· · · · · ·And clarification:· Do you mean his -- his

14· ·understanding of what he did, or what others'

15· ·motivation --

16· · · · · ·MR. BRIODY:· His -- his understanding --

17· ·well, let me take a step back.

18· · · ·Q· ·Mr. Henley, you were responsible for

19· ·retaining Ergo in connection with this investigation?

20· · · ·A· ·Correct.

21· · · ·Q· ·And why did you understand you were retaining

22· ·Ergo?

23· · · ·A· ·Because Salle and Joe asked us to just --

24· ·there was a -- this is an unknown plaintiff, and they

25· ·wanted diligence on who this person was.


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·1· · · · · ·MR. HANNA:· Objection to the form of the

·2· ·question; mischaracterizes testimony.

·3· · · · · ·THE WITNESS:· They asked for diligence on

·4· ·him.· That is correct.

·5· · · · · ·MR. BRIODY:· Q.· And did they tell you any

·6· ·particular way to conduct that diligence?

·7· · · ·A· ·No.

·8· · · ·Q· ·Who decided to retain Ergo?

·9· · · ·A· ·Me.

10· · · ·Q· ·Did you retain any other investigation firm,

11· ·any kind of consultant, vendor, or any other party to

12· ·conduct diligence of Mr. Meyer?

13· · · ·A· ·No.

14· · · ·Q· ·What about Mr. Schmidt?

15· · · ·A· ·No.

16· · · ·Q· ·What about any counsel in this litigation on

17· ·behalf of the plaintiff?

18· · · ·A· ·No.

19· · · ·Q· ·When did Ergo's investigation of Mr. Meyer

20· ·conclude?

21· · · ·A· ·I'm not sure the exact date.

22· · · ·Q· ·Was it in February?

23· · · ·A· ·It would have been whenever the date that

24· ·they sent me the report.

25· · · ·Q· ·Who spoke with Ergo in connection with its


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·1· ·investigation of Mr. Meyer -- withdrawn.

·2· · · · · ·Who from Uber spoke to Mister -- withdrawn.

·3· · · · · ·Who from Uber spoke with Ergo concerning its

·4· ·investigation of Mr. Meyer?

·5· · · ·A· ·Me.

·6· · · ·Q· ·Did anyone else speak with Ergo?

·7· · · ·A· ·Throughout the investigation?

·8· · · ·Q· ·Let's break it up.

·9· · · ·A· ·Yeah.

10· · · ·Q· ·There came a point in time where plaintiff's

11· ·counsel reached out to counsel for Mr. Kalanick

12· ·concerning Uber's investigation.

13· · · · · ·Are you familiar with that?

14· · · ·A· ·Just briefly.

15· · · ·Q· ·Okay.· And so there was a time period,

16· ·though, after plaintiff's counsel reached out to

17· ·Mr. Kalanick's counsel, that I understand other folks

18· ·at Uber may have become involved with interacting with

19· ·Ergo; right?

20· · · ·A· ·Yeah.

21· · · ·Q· ·I want to know before that.

22· · · · · ·Who from Uber was interacting with Ergo

23· ·during the period of its investigation from December

24· ·and through January?

25· · · ·A· ·Me.


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·1· · · ·Q· ·Anyone else?

·2· · · ·A· ·I don't know exactly when Craig would have

·3· ·started engaging, because he kind of came -- Craig

·4· ·Clark.

·5· · · ·Q· ·What about Ms. Yoo?

·6· · · ·A· ·No.

·7· · · ·Q· ·What about Mr. Sullivan?

·8· · · ·A· ·No.

·9· · · ·Q· ·What about any other attorneys at Uber?

10· · · ·A· ·No.

11· · · ·Q· ·And -- and are you certain of that?

12· · · · · ·Do you know that for a fact?

13· · · ·A· ·Yeah, for sure.

14· · · ·Q· ·And have you spoken with those other

15· ·individuals to find out whether they had

16· ·communications with Ergo?

17· · · · · ·MR. HANNA:· Don't -- just caution the

18· ·witness.· I don't think he's asking for the substance

19· ·of communications that you've had with internal or

20· ·external counsel.

21· · · · · ·THE WITNESS:· Yeah.

22· · · · · ·MR. HANNA:· He's asking if there were any

23· ·conversations, or did you do anything to try to verify

24· ·whether anybody else spoke with Ergo during the period

25· ·of -- from retention to report --


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·1· · · ·Q· ·You never communicated with Miguel

·2· ·Santos-Neves?

·3· · · ·A· ·No.

·4· · · ·Q· ·To your knowledge, did anyone at Uber

·5· ·communicate with Miguel Santos-Neves?

·6· · · ·A· ·No.

·7· · · ·Q· ·What about Mr. Egeland?· To your knowledge,

·8· ·has anyone else at Uber communicated with Mr. Egeland

·9· ·in relation to the Meyer matter?

10· · · · · ·And I'm talking at any point in time.

11· · · ·A· ·Just Craig Clark.

12· · · ·Q· ·And what about Mr. Moneyhon?· Do you know of

13· ·anybody at Uber who communicated with Mr. Moneyhon

14· ·concerning the subject matter of the Meyer

15· ·investigation?

16· · · ·A· ·No, I don't know of anyone else.

17· · · · · ·MR. HANNA:· You've got to keep your voice up.

18· · · · · ·THE WITNESS:· Yeah, I know.· I was just

19· ·thinking that as well.

20· · · · · ·MR. HANNA:· And let him finish his

21· ·question --

22· · · · · ·MR. BRIODY:· Right.

23· · · · · ·MR. HANNA:· -- before you give your answer.

24· · · · · ·MR. BRIODY:· Q.· And one sort of rule of the

25· ·road, we should try not to step on each other.· I'll


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·1· ·do the best I can.· Sometimes I might get my signals

·2· ·crossed, thinking --

·3· · · ·A· ·Oh.

·4· · · ·Q· ·-- you've finished an answer.· Please finish

·5· ·your answer.· I'm happy to let you do that.

·6· · · · · ·If -- you've been doing a fine job of this

·7· ·already.· If I ask anything that you don't understand

·8· ·what I'm asking you, please ask me to clarify.· I'll

·9· ·be happy to do that, too.

10· · · · · ·Now, who at Uber received reports from Ergo

11· ·concerning the Meyer investigation?

12· · · · · ·MR. HANNA:· Objection to the form of the

13· ·question.

14· · · · · ·THE WITNESS:· Who received them directly from

15· ·Ergo --

16· · · · · ·MR. BRIODY:· Yes.

17· · · · · ·THE WITNESS:· -- or who saw the report?

18· · · · · ·MR. BRIODY:· Let's start with directly from

19· ·Ergo.

20· · · · · ·THE WITNESS:· Me.

21· · · · · ·MR. BRIODY:· Okay.

22· · · ·Q· ·Who else -- anyone else other than you

23· ·received direct communication from Ergo --

24· · · ·A· ·No.

25· · · ·Q· ·-- with the report?


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·1· · · ·A· ·Just me.

·2· · · ·Q· ·And what about after you received -- and the

·3· ·report we're talking about, that's a January 19th

·4· ·report provided by Ergo to Uber; right?

·5· · · ·A· ·I assume that's the date.· I don't know

·6· ·exactly the date.

·7· · · ·Q· ·Was that report passed along to anyone else

·8· ·at Uber?

·9· · · ·A· ·It was passed to Craig Clark and Joe

10· ·Sullivan.

11· · · ·Q· ·Anyone else?

12· · · ·A· ·I -- not to my knowledge.

13· · · ·Q· ·Okay.· Do you know if that report was passed

14· ·along to the defendant, Travis Kalanick?

15· · · ·A· ·I have no idea.

16· · · ·Q· ·What about his counsel at Boies Schiller?· Do

17· ·you know if it was --

18· · · ·A· ·No idea.

19· · · ·Q· ·Let me finish.

20· · · · · ·Are you -- just for the record, are you aware

21· ·if the -- Ergo's report concerning Mr. Meyer was

22· ·passed along to Mr. Kalanick's counsel at Boies

23· ·Schiller?

24· · · ·A· ·I have no idea.

25· · · ·Q· ·Now, I think you -- this is probably


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·1· · · ·Q· ·Uh-huh.

·2· · · ·A· ·Poosha, business operations, worked with

·3· ·legal on the master services agreement.

·4· · · ·Q· ·Anyone else?

·5· · · ·A· ·At that point it would be me and Poosha, if

·6· ·you don't have me down.

·7· · · ·Q· ·And in terms of Ms. Yoo and Mr. Sullivan,

·8· ·their role was not -- are you saying that they were

·9· ·not specifically involved in retaining Ergo, that that

10· ·was --

11· · · ·A· ·They -- it was -- Ergo was originally

12· ·recommended to me by Joe, who received it from Ryan

13· ·Graves.

14· · · ·Q· ·And was Ergo recommended by Joe Sullivan?

15· · · · · ·That's who you're talking about, Joe?

16· · · ·A· ·Joseph.

17· · · ·Q· ·For the Meyer project?

18· · · ·A· ·No.

19· · · ·Q· ·And why was Ergo -- do you know, why did

20· ·Mr. Sullivan recommend Ergo to you?

21· · · ·A· ·Because Ryan recommended that we talk to

22· ·them.

23· · · ·Q· ·With respect to any particular types of

24· ·projects?

25· · · ·A· ·No.


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·1· · · ·Q· ·Okay.· Now, let's talk about the retention of

·2· ·Ergo with respect to the Meyer project.

·3· · · · · ·Who was involved in that?

·4· · · ·A· ·Me.

·5· · · ·Q· ·Just you?

·6· · · ·A· ·For the retention piece, just me.

·7· · · ·Q· ·Now -- now, there -- we can -- I'd like to

·8· ·stop now and talk about the Ergo investigation itself.

·9· · · · · ·Who managed, from Uber's standpoint, the Ergo

10· ·investigation itself?

11· · · ·A· ·What do you mean by managed?

12· · · ·Q· ·Did anyone perform oversight, after Ergo was

13· ·retained for the Meyer project, over what Ergo was

14· ·doing on the Meyer project?

15· · · · · ·MR. HANNA:· Objection to the form of the

16· ·question.

17· · · · · ·THE WITNESS:· There -- yeah, there's no

18· ·management from our part.

19· · · · · ·MR. BRIODY:· Q.· So there was pre-retention,

20· ·retention, then Ergo was conducting the investigation?

21· · · ·A· ·Yep.

22· · · ·Q· ·And Uber is not participating in that

23· ·investigation or overseeing it --

24· · · ·A· ·No.

25· · · ·Q· ·-- is that fair?


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·1· · · ·A· ·Fair, yes.

·2· · · ·Q· ·Now, when -- a report is tendered by Ergo to

·3· ·you; right?

·4· · · ·A· ·Yep.

·5· · · ·Q· ·And we can -- we'll go through some documents

·6· ·later on, but I just want to get the broad picture

·7· ·here.

·8· · · · · ·That happens, I can tell you, around

·9· ·January 19th.

10· · · ·A· ·Uh-huh.

11· · · ·Q· ·When is Uber's next involvement with respect

12· ·to Ergo?

13· · · · · ·MR. HANNA:· Objection to the form of the

14· ·question.

15· · · · · ·THE WITNESS:· What do you mean by

16· ·involvement?

17· · · · · ·MR. BRIODY:· Next contact, next reach-out to

18· ·Ergo.

19· · · · · ·THE WITNESS:· I don't know.

20· · · · · ·MR. BRIODY:· Q.· What was -- when was your

21· ·next reach-out to Ergo after you got the report?

22· · · ·A· ·Really, at that point, Craig had been fully

23· ·on-boarded and was managing it.· And I don't remember

24· ·if I talked to them after the report piece.

25· · · ·Q· ·And "Craig" refers to Craig Clark?


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·1· · · ·A· ·(Witness nods head.)

·2· · · ·Q· ·And was Craig -- you need --

·3· · · ·A· ·Yes.

·4· · · ·Q· ·-- to speak your -- sorry.

·5· · · · · ·So I'll say that again.

·6· · · ·A· ·You were talking over me.

·7· · · ·Q· ·I -- fair point.

·8· · · · · ·"Craig" refers to Craig Clark?

·9· · · ·A· ·Correct.

10· · · ·Q· ·And so is it correct that Craig Clark was not

11· ·involved with respect to the retention of Ergo for the

12· ·Meyer project before the report was tendered by Ergo

13· ·to Uber?

14· · · ·A· ·Correct.

15· · · ·Q· ·Now, after the report is tendered to Uber,

16· ·sort of breaking up, going back to my earlier line,

17· ·the pre-retention, the retention, then there's a

18· ·report.· Uber gets the report.

19· · · · · ·Can you tell me, to your knowledge, what

20· ·happens next at Uber with respect to the Meyer

21· ·investigation?

22· · · ·A· ·My involvement stopped at the point of

23· ·forwarding it to Craig and Joe.

24· · · ·Q· ·And so, after you forwarded the report, for

25· ·the events happening after that, I should talk to


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·1· ·Craig or Joe; is that right?

·2· · · ·A· ·Yes.

·3· · · ·Q· ·Are you familiar with the defendant in the

·4· ·case, Travis Kalanick?

·5· · · ·A· ·Am I -- say it again.

·6· · · ·Q· ·Are you familiar with the defendant in the

·7· ·case --

·8· · · ·A· ·No.

·9· · · ·Q· ·-- Travis Kalanick?

10· · · ·A· ·Oh, am I familiar with Travis?

11· · · ·Q· ·Yes.

12· · · ·A· ·Yes.

13· · · ·Q· ·Do you speak with him regularly?

14· · · ·A· ·I don't -- what's regularly?

15· · · ·Q· ·Once a week.

16· · · ·A· ·No.

17· · · ·Q· ·Once a month?

18· · · ·A· ·Yes.

19· · · ·Q· ·Okay.· Have you ever discussed the Ergo

20· ·investigation of Mr. Meyer with him?

21· · · ·A· ·No.

22· · · ·Q· ·Have you ever discussed with Mr. Kalanick any

23· ·retention of Ergo for any project on behalf of Uber?

24· · · ·A· ·No.

25· · · ·Q· ·Are you familiar with Mr. Kalanick's counsel


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·1· ·investigation to be done in a way where no one could

·2· ·figure out that Uber was the one commissioning it?

·3· · · · · ·MR. HANNA:· Objection to the form of the

·4· ·question.

·5· · · · · ·MR. BRIODY:· Q.· You can answer.

·6· · · ·A· ·No.

·7· · · ·Q· ·Okay.· You didn't want the investigation to

·8· ·be conducted in a way to avoid discovery issues?

·9· · · ·A· ·No.

10· · · · · ·MR. HANNA:· Objection to the form of the

11· ·question.

12· · · · · ·MR. BRIODY:· Q.· You can answer.

13· · · ·A· ·No.

14· · · ·Q· ·Can you turn to the page with the '1172.

15· · · ·A· ·(Witness complies.)· Yeah.

16· · · ·Q· ·And let me take a step back for a minute.

17· · · · · ·The header on that e-mail says -- do you see

18· ·where it says "Begin PGP Message" and "End PGP

19· ·Message" on that last e-mail we were just looking at?

20· · · ·A· ·What's the page number you're --

21· · · ·Q· ·It's '1170 at the bottom right.

22· · · ·A· ·Yes.

23· · · ·Q· ·Okay.· And you see -- and so what's a PGP

24· ·message?

25· · · ·A· ·An encrypted message.


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·1· · · ·Q· ·What potential discovery issues did you have

·2· ·in mind when you wrote that?

·3· · · ·A· ·You use encryption to protect it when it's at

·4· ·rest.· And you're usually using encryption when you're

·5· ·dealing with sending encrypted -- or sending sensitive

·6· ·data to infrastructure you don't control, which would

·7· ·be, say, Ergo's mail spools.

·8· · · · · ·We want to protect from breaches on their

·9· ·end, breaches on our end, of sensitive matters

10· ·becoming public.

11· · · ·Q· ·How would they become public if you sent an

12· ·e-mail that just communicated your message to

13· ·Mr. Moneyhon in plain text without PGP?

14· · · ·A· ·You want an example of how they would become

15· ·public?

16· · · ·Q· ·I want to know what you were worried about --

17· · · ·A· ·Yeah, a potential breach --

18· · · · · ·MR. HANNA:· Don't talk over one another.

19· · · · · ·MR. BRIODY:· Yeah.

20· · · ·Q· ·I want to know the -- I want to know the

21· ·potential discovery issues.

22· · · ·A· ·Yeah.

23· · · ·Q· ·What are they?

24· · · ·A· ·So, we refer to it as dumping a mail spool.

25· ·So, when people compromise a network, one of the


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·1· ·biggest things they will target is the corporate mail

·2· ·spool.· Anything that's not encrypted will be dumped

·3· ·to plain text.

·4· · · · · ·If things are encrypted, those will not be

·5· ·able to be dumped because they require the key of the

·6· ·corporation that the individual has.

·7· · · ·Q· ·And what was so problematic if someone -- so

·8· ·would your -- let me -- so I can understand what

·9· ·you're envisioning, you're envisioning a situation

10· ·where someone hacks into Ergo's system --

11· · · ·A· ·Or yours.

12· · · · · ·THE REPORTER:· Okay.· One at a time, please.

13· · · · · ·MR. BRIODY:· Q.· You're envisioning someone

14· ·hacking into Ergo's system or yours, and then dumping

15· ·the e-mails into the public domain?

16· · · ·A· ·Correct.

17· · · ·Q· ·And that's what you were talking about in

18· ·this e-mail?

19· · · ·A· ·Yes.

20· · · ·Q· ·And what would be the problem if your project

21· ·asking for research about Mr. Meyer reached a public

22· ·domain?

23· · · ·A· ·It's more that it's sensitive discussions

24· ·between, you know, our executives that we want to

25· ·protect from being dumped in the public domain.


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·1· · · ·Q· ·But there's no discussion between executives.

·2· ·This is -- you're asking Ergo to -- you said -- you

·3· ·called it due diligence.

·4· · · · · ·So what's the problem if it's in the public

·5· ·domain that Uber retained Ergo to do due diligence,

·6· ·from your perspective?

·7· · · · · ·MR. HANNA:· Objection to the form of the

·8· ·question.

·9· · · · · ·THE WITNESS:· We encrypt anything that we

10· ·feel may be sensitive.· And the fact that this came

11· ·from Salle and Joe, in my head, is something that

12· ·raises a sensitivity level.

13· · · · · ·MR. BRIODY:· Q.· But Salle and Joe didn't ask

14· ·you to retain Ergo; right?

15· · · ·A· ·Correct.

16· · · ·Q· ·Do you encrypt everything, all your

17· ·communications?

18· · · ·A· ·No.

19· · · ·Q· ·Is it standard operating procedure at Uber to

20· ·encrypt all communications?

21· · · ·A· ·No.

22· · · ·Q· ·Do you encrypt communications between -- even

23· ·in connection with this litigation -- let me take a

24· ·step back.

25· · · · · ·Have you had any involvement in this


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·1· ·from Ergo to Mr. Sullivan, did you have any other

·2· ·communications with Mr. Sullivan concerning the Ergo

·3· ·investigation of Mr. Meyer?

·4· · · ·A· ·Not to my knowledge.

·5· · · · · ·The only thing I would have asked was date

·6· ·for completion, but I don't remember when or how.

·7· · · ·Q· ·And there were no other communications

·8· ·concerning what form the investigation would take, how

·9· ·it would be conducted; is that right?

10· · · ·A· ·Correct.

11· · · · · ·MR. HANNA:· Objection to the form of the

12· ·question.

13· · · · · ·MR. BRIODY:· Q.· And the only --

14· · · · · ·MR. HANNA:· You've got to give me a chance.

15· · · · · ·THE WITNESS:· I know.

16· · · · · ·MR. BRIODY:· Q.· -- directive -- the only

17· ·directive that you received from Mr. Sullivan or

18· ·Ms. Yoo concerning the investigation of Mr. Meyer and

19· ·his counsel was to:

20· · · · · ·"Do a careful check on this plaintiff (the

21· ·person who was the named driver/named party in the

22· ·case)."

23· · · · · ·Is that right?

24· · · ·A· ·Correct.

25· · · ·Q· ·And did -- I just want to be sure I'm clear


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·1· ·here, and I think it is from your prior testimony.

·2· · · · · ·Before Ergo was retained, Exhibit 47 is the

·3· ·only communications that you received from anyone at

·4· ·Uber relating to the investigation of Mr. Meyer; is

·5· ·that right?

·6· · · · · ·MR. HANNA:· Objection; asked and answered.

·7· · · · · ·THE WITNESS:· Can you state it again.· It was

·8· ·very long.

·9· · · · · ·MR. BRIODY:· Sure I can.

10· · · ·Q· ·I'm trying to find out if you talked with

11· ·anybody else at Uber concerning the investigation of

12· ·Mr. Meyer before you retained Ergo?

13· · · ·A· ·No.

14· · · ·Q· ·Did you speak to Mr. White, who is here

15· ·today, before you retained Ergo?

16· · · ·A· ·No.

17· · · ·Q· ·And what about Ms. Haswell?· Did you speak

18· ·with her?

19· · · ·A· ·No.

20· · · ·Q· ·And who is Ms. Haswell, Lindsey Haswell?

21· · · · · ·Do you know her?

22· · · ·A· ·Yes.

23· · · ·Q· ·And who is she?

24· · · ·A· ·Someone on our litigation team.

25· · · ·Q· ·And do you know Jonathan Lieberman?


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·1· · · ·A· ·I know of him.

·2· · · ·Q· ·Do you know what his job is?

·3· · · ·A· ·No.

·4· · · ·Q· ·Do you know if he's a lawyer?

·5· · · ·A· ·I don't know.· I'm guessing he is.

·6· · · ·Q· ·So I take it you didn't --

·7· · · ·A· ·No.

·8· · · ·Q· ·-- talk with him before you retained Ergo?

·9· · · · · ·If you could just --

10· · · · · ·MR. HANNA:· Slow down, don't talk over him,

11· ·and keep your voice up.

12· · · · · ·MR. BRIODY:· Q.· So, you didn't talk -- you

13· ·didn't talk with him before you retained Ergo?

14· · · ·A· ·No.

15· · · ·Q· ·Okay.· Before you -- do you know if, before

16· ·you received this e-mail, Ms. Yoo had any discussions

17· ·with Mr. Kalanick concerning the complaint attached to

18· ·the e-mail?

19· · · ·A· ·Not to my knowledge.

20· · · ·Q· ·Do you have any understanding of whether

21· ·Mr. Kalanick was aware of Ms. Yoo's request of

22· ·Mr. Sullivan to look into the plaintiff in -- in the

23· ·Meyer litigation?

24· · · ·A· ·Not to my knowledge.

25· · · ·Q· ·Do you have any understanding of whether


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·1· ·Mr. Kalanick's lawyers were aware of Ms. Yoo's request

·2· ·of Mr. Sullivan, or of Mr. Sullivan's request to you,

·3· ·to look into the plaintiff in the Meyer litigation?

·4· · · ·A· ·Not to my knowledge.

·5· · · ·Q· ·Okay.· Now, I want to clarify my question

·6· ·before.

·7· · · · · ·Do you have any understanding of whether

·8· ·Mr. Kalanick was aware of Mr. Sullivan's communication

·9· ·to you about the investigation -- requesting the

10· ·investigation of the plaintiff?

11· · · ·A· ·Not to my knowledge.

12· · · ·Q· ·Okay.· Now, you signed -- now, the retention

13· ·of Ergo -- Uber had done business with Ergo before;

14· ·correct?

15· · · · · ·Before -- withdrawn.· That's a terrible

16· ·question.

17· · · · · ·When was the first time Uber did business

18· ·with Ergo?

19· · · ·A· ·This case.

20· · · ·Q· ·Okay.· Uber didn't do business with Ergo in a

21· ·project on or about November 2015 relating to foreign

22· ·market?

23· · · ·A· ·Not to my knowledge.

24· · · ·Q· ·Okay.· Who would know any projects that Ergo

25· ·has ever done for Uber?


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·1· ·because I -- I think you said before during Ergo's

·2· ·investigation of Mr. Meyer, while that was taking

·3· ·place, you did not communicate with anyone at Ergo; is

·4· ·that right?

·5· · · ·A· ·Give me the time frame again.

·6· · · ·Q· ·Sure.

·7· · · · · ·Say, from December -- say, from January 6th

·8· ·'til January 19th, when the report was sent.

·9· · · · · ·MR. HANNA:· Objection to the form of the

10· ·question.

11· · · · · ·But you can answer if you recall.

12· · · · · ·THE WITNESS:· There were the e-mail

13· ·communications.· Is that what you're asking?

14· · · · · ·MR. BRIODY:· Q.· I'm asking about any

15· ·communications -- phone call, meeting, Gchat --

16· ·because I think before, you indicated there maybe were

17· ·some Gchats.

18· · · ·A· ·When did I say Gchat?

19· · · ·Q· ·Or -- sorry -- SMS messages.· Sorry.

20· · · ·A· ·Yeah, there would have been some

21· ·communication, but, like, almost all of it would have

22· ·been over e-mail.· And, if there was anything else, I

23· ·don't remember.

24· · · ·Q· ·And what did you discuss with the folks at

25· ·Ergo?


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·1· · · ·A· ·What did we discuss?

·2· · · ·Q· ·Yeah, about the Meyer project.

·3· · · · · ·MR. HANNA:· Objection to the form of the

·4· ·question.

·5· · · · · ·THE WITNESS:· There wasn't a discussion.          I

·6· ·sent them the complaint and that we needed research

·7· ·into the -- who the plaintiff was.

·8· · · · · ·MR. BRIODY:· Q.· And that was it?

·9· · · ·A· ·Yes.

10· · · ·Q· ·Okay.· Now, let me hand you -- you can put

11· ·that -- yeah.

12· · · · · ·MR. HANNA:· Done with that.

13· · · · · ·MR. BRIODY:· Thank you.

14· · · ·Q· ·I'm going to hand you -- they sent you --

15· ·Ergo sent you a statement of what the Meyer

16· ·investigation generally would entail; right?

17· · · ·A· ·If I could see the e-mail, I --

18· · · ·Q· ·Sure.· I'm going to give it to you right now.

19· · · ·A· ·-- can comment on that.

20· · · · · ·(Document marked Exhibit 49

21· · · · · · for identification.)

22· · · · · ·MR. BRIODY:· I'm handing you what's been

23· ·marked as Exhibit 49.

24· · · · · ·MR. HANNA:· Thank you.

25· · · · · ·MR. BRIODY:· Q.· Please take a moment to


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·1· · · ·A· ·Correct.

·2· · · ·Q· ·And then the report came in -- I just want to

·3· ·get the time frame here.

·4· · · · · ·And from the report coming in forward, your

·5· ·understanding is, then it was Craig's job to deal with

·6· ·both the report and the interface with Ergo; is that

·7· ·fair?

·8· · · ·A· ·Yeah, absolutely.

·9· · · ·Q· ·Okay.· Now, did you -- and I want to be very

10· ·specific about this question.· I think it's covered by

11· ·my other ones.

12· · · · · ·But did you consult with anyone in the legal

13· ·department at Uber?

14· · · · · ·And who -- you said before that there is --

15· ·you have an attorney on staff in security; is that

16· ·right?

17· · · ·A· ·Craig Clark.

18· · · ·Q· ·And that's Craig Clark.

19· · · · · ·And was Mr. Clark involved in overseeing

20· ·matters or playing any role in security at Uber as of

21· ·January 4, 2016, when you signed off on Ergo's work?

22· · · ·A· ·I don't know when his start date was.

23· · · ·Q· ·Okay.· And -- and when you referenced before

24· ·that there is an attorney on the security team, was

25· ·that Mr. Clark who you were referring to?


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·1· · · ·A· ·Yes.

·2· · · ·Q· ·Okay.· And so, what I would like to know is:

·3· ·Did any attorney at Uber review this statement of work

·4· ·that Ergo would be performing before you signed off on

·5· ·it?

·6· · · · · ·MR. HANNA:· You're referring to the e-mail

·7· ·now --

·8· · · · · ·MR. BRIODY:· Correct, correct.

·9· · · · · ·MR. HANNA:· -- which is Exhibit 49?

10· · · · · ·MR. BRIODY:· Correct.

11· · · · · ·THE WITNESS:· No.

12· · · · · ·MR. BRIODY:· Okay.

13· · · ·Q· ·And did you discuss with anybody -- any

14· ·attorney at Ergo -- and let me give -- let me ask you

15· ·this, and that's:· Is the same thing true of

16· ·Mr. Kalanick?

17· · · · · ·You didn't discuss this with Mr. Kalanick?

18· · · ·A· ·No.

19· · · ·Q· ·And you didn't discuss this with

20· ·Mr. Kalanick's lawyers, "this" being Exhibit 49?

21· · · ·A· ·No.

22· · · ·Q· ·Okay.· And did you discuss with anyone the

23· ·fact that Ergo would be reaching out to seven primary

24· ·sources as part of its work?

25· · · ·A· ·No.


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·1· · · ·Q· ·Now, were you aware of the manner in which

·2· ·Ergo is going to reach out and contact the seven

·3· ·primary sources in order to obtain interviews and

·4· ·information?

·5· · · · · ·MR. HANNA:· Objection to the form of the

·6· ·question.

·7· · · · · ·MR. BRIODY:· And let me be clear about this.

·8· · · ·Q· ·Prior -- let's pick a date.· Jan- -- prior to

·9· ·January 19th, prior to receiving Ergo's report, were

10· ·you aware of the manner in which Ergo was going to

11· ·reach out to the seven primary sources?

12· · · ·A· ·I still don't know how they reached out.

13· · · ·Q· ·Oh, so -- so the answer to that question is

14· ·"no"?

15· · · ·A· ·No.

16· · · ·Q· ·And after you received the report, did you

17· ·ever learn how Ergo was reaching out to the seven

18· ·primary sources?

19· · · ·A· ·No.

20· · · · · ·MR. HANNA:· Slow down.

21· · · · · ·MR. BRIODY:· Q.· Is that something that you

22· ·were ever concerned about, how Ergo might be reaching

23· ·out to the seven primary sources --

24· · · · · ·MR. HANNA:· Objection --

25· · · · · ·MR. BRIODY:· Q.· -- in the period between the


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·1· ·January 4th e-mail and the January 19th report?

·2· · · · · ·MR. HANNA:· Objection to the form of the

·3· ·question.

·4· · · · · ·THE WITNESS:· Say it again.

·5· · · · · ·MR. BRIODY:· Q.· Is that -- were you ever

·6· ·concerned about the manner in which Ergo was going to

·7· ·be reaching out to its seven primary sources in the

·8· ·time period between January 4th and January 19th?

·9· · · ·A· ·I was not concerned, based on our MSA and

10· ·legal involved, with how they conduct their work.          I

11· ·assumed it would be professional and legal.

12· · · ·Q· ·But you did nothing to apprise yourself and

13· ·monitor whether that would be the case actively during

14· ·the period January 4th to January 19th?

15· · · ·A· ·No.

16· · · · · ·MR. HANNA:· Objection to the form of the

17· ·question.

18· · · · · ·MR. BRIODY:· Q.· At any point during

19· ·January 4th to January 19th, did you discuss with

20· ·attorneys at Uber whether or not you should be

21· ·overseeing the investigation, and the manner in which

22· ·it was carried out by Ergo?

23· · · · · ·MR. HANNA:· Objection to the form of the

24· ·question; asked and answered.

25· · · · · ·You can go ahead and answer again.


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·1· ·reaching out and telling people what it's doing and

·2· ·for who because that would ostensibly be done in a

·3· ·conversation, as opposed to written down in data at

·4· ·rest?

·5· · · · · ·MR. HANNA:· Objection to the form of the

·6· ·question; misstates testimony.

·7· · · · · ·THE WITNESS:· No.· I'm saying they're, again,

·8· ·two different things.

·9· · · · · ·What Ergo is doing and how they carry out

10· ·their investigation is under their guise of how they

11· ·act professionally and legally.

12· · · · · ·My job as a security engineer and the

13· ·director of security is to protect our data, right,

14· ·and specifically, our data at rest.· That's why we use

15· ·encryption.

16· · · · · ·MR. BRIODY:· Okay.

17· · · ·Q· ·Now, I want to be clear on something.

18· · · · · ·Sitting here today, do you know that, when

19· ·Ergo reached out to sources, it used a pretext, or a

20· ·cover to those sources it reached out to, in

21· ·connection with the Meyer investigation?

22· · · · · ·MR. HANNA:· Exclusive of anything you've

23· ·learned from counsel?

24· · · · · ·MR. BRIODY:· I'm asking if he knows.· If you

25· ·want to instruct him not to answer that on the basis


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·1· ·of learning it from counsel, you can go ahead and do

·2· ·that.

·3· · · · · ·I want to know if he knows that the Ergo

·4· ·investigation involved the use of pretext, false

·5· ·information, to sources.· I want to know if he knows

·6· ·that as he sits here today.

·7· · · · · ·MR. HANNA:· I -- I will instruct you not to

·8· ·answer if you've learned any information from internal

·9· ·or external counsel after the -- after the report

10· ·comes in.

11· · · · · ·If you know it's from some other way, heard

12· ·it from somebody else, you can say.

13· · · · · ·THE WITNESS:· I never read the report.          I

14· ·don't know details of anything beyond that they've

15· ·sent a report back.· And that landed with Craig and

16· ·Joe.

17· · · · · ·MR. BRIODY:· Q.· So, as the director of

18· ·security, you didn't -- withdrawn.

19· · · · · ·So, you understand you're here today because

20· ·of Ergo's investigation of the plaintiff; right?

21· · · ·A· ·I'm here today because of -- yes.

22· · · ·Q· ·Okay.· And -- and you understand that the

23· ·plaintiff has a problem with this investigation and

24· ·how it was done and what was done; right?

25· · · ·A· ·I would guess that that's implied.


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·1· · · ·Q· ·Okay.· And you're the director of security

·2· ·for Uber; right?

·3· · · ·A· ·Correct.

·4· · · ·Q· ·And you didn't think it was an important

·5· ·thing to do to find out, before you testified here

·6· ·today, the manner in which Ergo reached out to the

·7· ·sources in connection with the Meyer investigation,

·8· ·what it told them?· You didn't think that was

·9· ·important to do?

10· · · · · ·MR. HANNA:· Objection to the form of the

11· ·question; argumentative.

12· · · · · ·THE WITNESS:· No.

13· · · · · ·MR. BRIODY:· Q.· So, you've never seen any of

14· ·the communications that Ergo's investigator sent to

15· ·individuals in an effort to perform its work for Uber?

16· · · ·A· ·Correct.· I have not seen any of their

17· ·communications.

18· · · · · ·(Document marked Exhibit 52

19· · · · · · for identification.)

20· · · · · ·MR. BRIODY:· That's for you.· Sorry.

21· · · · · ·MR. HANNA:· Thank you.

22· · · · · ·MR. BRIODY:· Okay.· For the record,

23· ·Exhibit 52 is a document produced by Ergo at

24· ·ERGO '509, designated "Confidential."· This is an

25· ·e-mail from Mr. Santos-Neves to a Matthew Duveneck,


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·1· ·report, concerning Mr. Meyer, being sent to anyone

·2· ·else besides the folks on this e-mail chain?

·3· · · ·A· ·Not that I'm aware of.

·4· · · ·Q· ·Now, after you get this report -- and we

·5· ·discussed this before -- what happens after you get

·6· ·the January 19th report from Ergo?

·7· · · · · ·What do you -- what's your involvement with

·8· ·respect to Mr. Meyer and the investigation?

·9· · · ·A· ·Nothing.· This is -- I forwarded it to Craig

10· ·and Joe, and that's been kind of the extent of my

11· ·involvement.

12· · · ·Q· ·Did you ever suggest to anyone at Ergo that

13· ·they -- the report -- actually, withdrawn.

14· · · · · ·So I'm going to go through a couple of names

15· ·here.· I think you're going to probably not know them,

16· ·but I just need to make sure.

17· · · · · ·So, are you familiar at all with Peter

18· ·Skinner?

19· · · ·A· ·No.

20· · · ·Q· ·And Mr. White, who's here, and Ms. Haswell,

21· ·did you have any discussions with them after the

22· ·report -- I just want to know yes or no -- after the

23· ·report was received on the 19th concerning Ergo?

24· · · · · ·MR. HANNA:· I'll let you answer yes or no.

25· · · · · ·THE WITNESS:· Yes.


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·1· · · · · ·MR. BRIODY:· Okay.

·2· · · ·Q· ·Now, while the investigation -- the Ergo

·3· ·investigation was taking place -- and let's put the

·4· ·marker as -- we'll use January 4th to January 19th --

·5· ·were you communicating with Mr. White or Ms. Haswell

·6· ·concerning the Ergo investigation?

·7· · · ·A· ·No.

·8· · · ·Q· ·Did you have any -- what about Mr. Lieberman?

·9· · · ·A· ·Who is Mr. Lieberman?

10· · · ·Q· ·Okay.· That says it all.

11· · · · · ·Now, did there come a time when you came to

12· ·understand that Mr. Meyer's counsel was complaining

13· ·about Ergo's investigation of Mr. Meyer and

14· ·Mr. Schmidt?

15· · · ·A· ·Yeah, I became aware that there was an issue

16· ·at some point.

17· · · ·Q· ·And when was that?

18· · · ·A· ·I don't remember.

19· · · ·Q· ·Was it in February?

20· · · ·A· ·I don't remember.

21· · · ·Q· ·Was it in January?

22· · · ·A· ·I don't remember.

23· · · ·Q· ·Was it yesterday?

24· · · ·A· ·I don't remember.

25· · · ·Q· ·On -- so dates are -- I'm going to be focused


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·1· ·get from Aspen does not mean much to me.

·2· · · · · ·MR. BRIODY:· Right.· I figured as much as you

·3· ·were looking at it.

·4· · · ·Q· ·So, tell me what was discussed at the meeting

·5· ·in March.

·6· · · ·A· ·It was an apology meeting.

·7· · · ·Q· ·What was the apology for?

·8· · · ·A· ·The investigation apologizing for, you know,

·9· ·what they had referred to as a rogue investigator.

10· ·Tried to ensure that if we knew that it was the first

11· ·time that they had someone go kind of out of scope,

12· ·and -- and that, you know, this was not normally how

13· ·they act.

14· · · ·Q· ·When you say "this was not normally how they

15· ·act," what was the "this" that they were apologizing

16· ·for?

17· · · ·A· ·The rogue investigator.

18· · · ·Q· ·What was rogue about what the investigator

19· ·did?

20· · · ·A· ·I don't know the details.

21· · · ·Q· ·Why don't you know the details?

22· · · · · ·MR. HANNA:· Objection to the form of the

23· ·question.

24· · · · · ·THE WITNESS:· I talked about it previously.

25· ·This is -- Craig had been -- Craig Clark had been


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·1· · · · · ·"Ergo Comment."

·2· · · · · ·Do you see that?

·3· · · ·A· ·Where it says:

·4· · · · · ·"Recommended Additional Research."

·5· · · ·Q· ·No, above that.· It says:

·6· · · · · ·"Ergo Comment."

·7· · · ·A· ·Okay.· Yes, I see that.

·8· · · ·Q· ·Okay.· And it says:

·9· · · · · ·"Meyer's carefully built professional focus

10· ·and persona and lack of supporting causes outside of

11· ·environmentalism is somewhat at odds with the

12· ·potential backlash of this lawsuit.· As such, Meyer

13· ·may be particularly sensitive to any publicity that

14· ·tarnishes his professional reputation."

15· · · · · ·Do you see that?

16· · · ·A· ·I do see that.

17· · · ·Q· ·Okay.· And I'm wondering if you're aware of

18· ·whether anyone at Uber has taken steps to act on the

19· ·Ergo comment that Meyer may be particularly sensitive

20· ·to any publicity that tarnishes his professional

21· ·reputation?

22· · · ·A· ·Not to my knowledge.

23· · · ·Q· ·Is it your understanding that anybody at Uber

24· ·is taking steps to act on that Ergo comment?

25· · · ·A· ·Not to my knowledge.


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·1· · · ·Q· ·Okay.· And do you know if Uber said to

·2· ·Ergo -- anyone at Uber said to Ergo that, in any

·3· ·projects that Ergo performs for Uber, it should not

·4· ·make false statements to individuals about the reasons

·5· ·why it's seeking -- Ergo, that is -- seeking

·6· ·information?

·7· · · ·A· ·I'm not aware of any communication.

·8· · · ·Q· ·Are you familiar with the phrase

·9· ·"reputational assessment"?

10· · · ·A· ·I know it from the context of, like, these

11· ·discussions.· I don't know it as a common phrase that

12· ·I know it from before this, though.

13· · · ·Q· ·And by "these discussions," you mean

14· ·discussions about the investigation of Mr. Meyer?

15· · · ·A· ·The discussions here today.

16· · · ·Q· ·Okay.· Have you been responsible in your time

17· ·at Uber -- when did you start working at Uber?

18· · · ·A· ·Almost exactly a year ago.

19· · · ·Q· ·And before you worked at Uber --

20· · · ·A· ·I was at Facebook.

21· · · ·Q· ·Okay.· And be- -- and when you joined Uber

22· ·about a year ago, what was your title?

23· · · ·A· ·Head of investigations.

24· · · ·Q· ·And -- and that title has changed?

25· · · ·A· ·Yes.


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